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 UNITED STATES DISTRICT COURT
 DISTRICT OF NEW JERSEY

   John Doe.
                                             Case No. 2:21-cv-20706
                 Plaintiff,

         v.

  Baila Sebrow

                 Defendant.



                BRIEF IN SUPPORT OF PLAINTIFF’S MOTION TO
   STRIKE DEFENDANT BAILA SEBROW’S ANSWER, ENTER A DEFAULT, AND SET
                   THIS MATTER DOWN FOR AN INQUEST



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         Plaintiff-Counter-Defendant John Doe (“Plaintiff”), by his attorneys, Daniel Szalkiewicz

 & Associates, P.C., respectfully submits this Memorandum of Law in support of Plaintiff’s

 Motion to Strike the Answer of defendant Baila Sebrow (“Defendant” or “Sebrow”), enter a

 default judgment, and set this matter down for an inquest pursuant to Rules 37 and 55 of the

 Federal Rules of Civil Procedure (“FRCP”).


                   PRELIMINARY STATEMENT & FACTUAL BACKGROUND

         Defendant Sebrow has failed to meaningfully participate in this litigation and

 continuously violates every court order issued.

         This action was commenced by the filing of a Complaint on December 23, 2021 (DE 1).

 On December 24, 2021, a copy of the Complaint was emailed to Ira Heller, Defendant Sebrow’s

 attorney. A Summons was issued on December 28, 2021 (DE 2). The following day, on

 December 29, 2021, pursuant to FRCP 4(d)(1) Defendant Sebrow was served a true and correct

 copy of the Summons and Complaint, a Notice of a Lawsuit and Request to Waive Service of a

 Summons and two copies of a Waiver of the Service of Summons, and a prepaid USPS Priority

 Mail envelope.

         After failing to acknowledge service, on April 27, 2022, Defendant Sebrow was served

 with a copy of the summons and complaint (DE 8). A clerk’s default was issued, and after

 several requests for an extension, on October 13, 2022, Defendant filed an answer with

 counterclaims (DE 13). To date, this has been Defendant’s only meaningful involvement in the

 litigation.

         On October 19, 2022, the court entered a letter order scheduling an initial conference for

 November 10, 2022, and required the parties to “immediately” exchange the early discovery




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 requirements of FRCP 26 (DE 14). On November 1, 2022, Plaintiff emailed the defendant’s

 counsel a copy of the order.

         On November 10, 2022, the Court issued an order requiring the parties to exchange the

 information required under Rule 26(a)(1) by November 12, 2022 (DE 18). On November 11,

 2022, Plaintiff again sent a courtesy copy of the order by email to Defendant’s counsel.

         On November 21, 2022, Defendant was served with a Notice of Deposition of Baila

 Sebrow, Plaintiff’s First Request for the Production of Documents, and Plaintiff’s First Set of

 Interrogatories. The deposition was to take place on December 9, 2022. Responses to the

 document request and interrogatories were due December 21, 2022. To date, these demands

 have gone unanswered.

         On November 21, 2022, Plaintiff emailed Defendant a request to receive the initial

 disclosure. A second good faith letter was sent on December 5, 2022. On December 12, 2022,

 this court issued an order requiring Defendant to provide her Rule 26(a)(1) disclosures by

 December 15, 2022 (DE 21). After the disclosures were not received, a copy of the order was

 emailed to counsel on December 16, 2022. That same day Defendant emailed the court a letter

 but failed to provide her initial disclosures.

         On December 19, 2022, Plaintiff sent the court and opposing counsel a letter detailing

 how Defendant had failed to comply with the orders and requested the ability to raise the issue at

 the December 21, 2022, settlement conference. After the conference, the court issued an order

 permitting Plaintiff to file the instant application (DE 23).

         On December 21, 2022, Plaintiff stated he would not file the instant motion if responses

 were received by December 23, 2022 (see Exhibit 1). Despite two follow-up telephone calls,

 Defendant has still not complied with the orders. This instant motion follows.




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                                                  ARGUMENT

     DEFENDANT’S ANSWER SHOULD BE STRUCK AND A DEFAULT ENTERED

            Pursuant to FRCP 37(b)(2)(A)(iii), a court may strike a party’s pleadings for failure to

 obey a discovery order. “In deciding whether to impose this or related sanctions which deprive a

 party of the right to proceed with or defend against a claim, a district court must consider six

 factors:

                   (1) the extent of the party’s personal responsibility; (2) the prejudice to the
                   adversary caused by the failure to meet scheduling orders and respond to
                   discovery; (3) a history of dilatoriness; (4) whether the conduct of the party of the
                   attorney was willful or in bad faith; (5) the effectiveness of sanctions other than
                   dismissal, which entails an analysis of alternative sanctions; and (6) the
                   meritoriousness of the claim or defense.
                   Mylifestyle Access., LLC v. Valor Fractal, LLC, Civil Action No. 20-13697
                   (SDW) (AME), 2022 U.S. Dist. LEXIS 208205, at *5 (D.N.J. Nov. 16, 2022)
                   citing Poulis v. State Farm Fire & Cas. Co., 747 F.2d 863 (3d Cir. 1984).

            Looking at each of the factors found in Poulis striking is an appropriate sanction.

     1. The extent of the party's personal responsibility

            “In determining whether dismissal is appropriate, the court looks to whether the party

 bears personal responsibility for the action or inaction leading to the dismissal. A finding that a

 party, and not solely its counsel, is responsible for a discovery violation will weigh in favor of

 default or dismissal.” Schindler Elevator Corp. v. Otis Elevator Co., Civil Action No. 09-cv-

 0560 (DMC), 2011 U.S. Dist. LEXIS 116883, at *18 (D.N.J. Mar. 24, 2011)(internal brackets

 and citations omitted).

            While Defendant Sebrow has only appeared in this action through counsel, up until

 October 13, 2022, she has chosen to actively ignore the lawsuit. She received a copy of the

 complaint by mail on December 31, 2021 (DE 6), was served on April 27, 2022 (DE 8) and was

 also served with a copy of Plaintiff’s motion to restore (DE 6) and Plaintiff’s motion for fees




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 relating to service (DE 11). After receiving each of these documents, Defendant did not appear

 or attempt to participate.



     2. Prejudice to Plaintiff

         Prejudice is defined as “the burden imposed by impeding a party's ability to prepare

 effectively a full and complete trial strategy.” Roman v. City of Reading, 121 F. App'x 955, 959

 (3d Cir. 2005). “Prejudice also includes deprivation of information through non-cooperation with

 discovery, and costs expended obtaining court orders to force compliance with discovery.”

 Solomon v. Atl. City Hilton Casino & Resort, No. 10-5701 (NLH/AMD), 2013 U.S. Dist.

 LEXIS 65709, at *10-11 (D.N.J. Apr. 8, 2013).

         Plaintiff is clearly prejudiced by Defendant’s utter disregard for each and every court

 order. Each time Defendant defaults, Plaintiff is forced to make a motion to attempt to receive

 even the most basic of disclosures.



     3. History of Dilatoriness

         Little needs to be said about Defendant’s history of dilatoriness. As the court wrote in

 Polaris “Time limits imposed by the rules and the court serve an important purpose for the

 expeditious processing of litigation . . . . A history . . . of ignoring these time limits is

 intolerable.” Ramada Worldwide, Inc. v. Veer Enters., LLC, Civil Action No. 10-6480 ES-SCM,

 2013 U.S. Dist. LEXIS 46099, at *9 (D.N.J. Mar. 28, 2013) citing Polaris, supra.

         The court orders were uploaded on the docket and Plaintiff emailed the same orders to

 Defendant to encourage some sort of participation. Plaintiff’s efforts failed.




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    4. Willfulness or Bad Faith

        Court’s have found willfulness and bad faith where “no excuse [had] been proffered for

 the excessive procrastination” or “where motions and orders were sent to a litigant at his home

 address, but he failed to respond.” Ramada, supra.

        In this case, it appears Defendant’s lack of participation has a more nefarious motive.

 Defendant engaged in a three-year course of defamation and harassment towards Plaintiff.

 Retaliating for Plaintiff finally defending himself and initiating this action, Defendant continued

 her harassment by filing a frivolous, unsubstantiated counterclaim. Defendant has no proof and

 evidence to support her fabricated allegations so she has chosen to simply ignore this court

 proceeding in its entirety, doing the bare minimum to ensure she did not default by merely

 entering an answer.



    5. Alternative Sanctions

        A court must also consider “alternative remedies, such as attorneys' fees or preclusion of

 claims, before striking a pleading and entering default.” Comsat, Inc. v. Pentagon Performance,

 Inc., Civil Action No. 17-12132 (SDW) (LDW), 2019 U.S. Dist. LEXIS 97242, at *6 (D.N.J.

 Jan. 22, 2019). As in Comsat, it is apparent that alternative sanctions would be futile. Defendant

 has already been admonished twice. Even after Plaintiff was given permission by the court to

 file this instant motion, and Plaintiff agreed to hold it in obeyance should Defendant choose to

 serve her initial disclosures, she did not. “No lesser sanction than striking defendant’s pleading

 and entering default would be effective.” Comsat, Inc., supra.




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    6. Meritoriousness of the Claim

          The final consideration is the merit of Plaintiff’s claim. Plaintiff has already outlined his

 case in the confidential settlement memorandum submitted to this court. Additionally, Plaintiff

 has shown the level of harassment he endured in his motion to dismiss Defendant’s

 counterclaims (DE 15). Without any meaningful participation by Defendant, Plaintiff’s

 allegations are uncontroverted.

                                            CONCLUSION

          Whereas, the Defendant’s answer should be struck, a default entered, and this matter set

 down for an inquest on damages, together with such further and other relief this court deems just

 and proper.


 Dated:          December 27, 2022
                 New York, New York
                                                         Daniel S. Szalkiewicz, Esq.
                                                         Daniel S. Szalkiewicz, Esq.




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